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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED      STATES         OF   AMERICA,      )               CASE NO. 8:06CR243
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                     ORDER
                                              )
JAMARR HOLIDAY,                               )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant's motion for relief from Judgment

(Filing No. 257).

       On June 2, 2011, the Defendant was sentenced to 24 months imprisonment for

violating his supervised release. His motion followed.

       IT IS ORDERED:

       1.     The Defendant's motion for relief from Judgment (Filing No. 257) is denied;

              and

       2.     The Clerk is directed to mail a copy of this order to the Defendant at his last

              known address.

       DATED this 16th day of November, 2011.

                                                  BY THE COURT:

                                                  S/Laurie Smith Camp
                                                  United States District Judge
